                  Case 1:15-cv-00105-JL Document 1 Filed 03/25/15 Page 1 of 17


                                     United States District Court. .:;
                                     District ofNew Hampshire -'
                                                                                      ^ /V        SS

                        Plaintiff


                                                      Civil Action No. _
     >v t> ne      frylout-jl        Tiii-vi <J-rVi   (To be provided by Clerk's Officef
                        Defendant(s)
                                                      TO BE COMPLETED BY PLAINTIFF
                                                      (Check One Only)
                                                      Cy DEMAND FORJURY TRIAL
                                                      (_) NO JURY TRIAL DEMAND



         COMPLAINT UNDER THE CIVIL RIGHTS ACT, 42 U.S.C § 1983

I.      Parties


        A. Please provide the following information for each plaintiff:

         1. Name        Pt C. Af Q                    \jJ> Ar Cg.
                            (Last)                        (First)                     (Initial)

        2. Place of Detention lphg^r-r> w.nc.Vtr                                Cot-r <,cTi o aj ^ .

         3. Institutional Address            P'W Vtifj It                   "ft OS W-g.V
           03?0d

         4. Are you incarcerated pursuant to a pretrial detention order or are you a sentenced inmate?

                        ^ Pretrial Detention Order
                        •   Sentenced Inmate
                                                                                  .      y
         5. Date pretrial detention order was issued or sentence imposed JihUi




USDCNH-11 (Rev. 5/13)(previous editions obsolete)                                     Page 3
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 Case 1:15-cv-00105-JL Document 1 Filed 03/25/15 Page 3 of 17




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                          Case 1:15-cv-00105-JL Document 1 Filed 03/25/15 Page 10 of 17


                  B. Please provide the full name, current title and address known for each defendant:

                  1. Namedft VA/V< ."Ce j
                                                                             (First)                       (Initial)
3\                    .                                 .
                  2. Title          y cr ix> T ^aj

                  3. Address                  P>u; rt.cjd                     ^o^dAujeA^ A>               /        Qllal
                    Avl                   p f A A A / ^ { , f /) s                                            >)    ug,

                  (If the complaint is being made against more than one defendant, please attach additional sheets
                  listing the above information and allegations as follows.)

         11.      Statement of Claim


                  For each claim, please include the following information on attached sheets:

                  1. State which of your federal constitutional or federal statutory rights have been violated.

                  2. State which defendant(s) have violated that particular right for each allegation.

                  3. State, with specificity, the facts and circumstancesthat gave rise to the violations or deprivations
                  alleged.

                  4. State the harm or damage that resulted from the alleged violation or deprivation.

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                  Allegation 1:iivnL(t,t                         To                                                                       •
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                    Case 1:15-cv-00105-JL Document 1 Filed 03/25/15 Page 11 of 17




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                  Case 1:15-cv-00105-JL Document 1 Filed 03/25/15 Page 12 of 17




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                                 Case 1:15-cv-00105-JL Document 1 Filed 03/25/15 Page 13 of 17



                       Allegation 2:                                              Off'^^^er fci/h^r^ re^X^t lAV^^xul Hc^Ai^7 pt/ltUyJl
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                       Allegations: Jc; f^r r^/Y<ruA^i/Y in                                          (r> Ufor.A>rv tfyiy 're^t^c^T Y<2>                                           /Mj'T
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           (If more space is needed to explain any allegation or to list additional facts, attach additional pages)                                                                              )


           III.        Relief


                       You must request specific relief in your Complaint. State briefly exactly what you want the court
           to do for you (attach additional pages if necessary): Pi /Ofif f                                                                         pfs" T'f-yl lou^t. P c
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                                                                                                                ^gnature ofPlaintiff
           USDCNH-11 (Rev. 5/13)(previous editions obsolete)                                                                                Page 5
                              Case 1:15-cv-00105-JL Document 1 Filed 03/25/15 Page 14 of 17
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/•
                      Case 1:15-cv-00105-JL Document 1 Filed 03/25/15 Page 15 of 17




     State of New Hampshire                    ]
                                               ]       ss
     County of       'mpyc i                   ]


                                                 , being first duly sworn, upon oath,presentsthat (s)hehas read
     and subscribed to the foregoing complaint, and states that the information contained therein is true and
     correct.




     Subscribed and sworn before me this                     day of                       , 20



                                                                                  Notary Public/Justice of the Peace


                                                             OR


                I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING INFORMATION IS TRUE
     AND CORRECT.




                       DATE                                      <——                  rSiSNATURE




                                                   JURY TRIAL DEMAND


                I demand a jury trial for all claims for which a juiy trial is allowed.

                YES           NO (_)
                (check one only)


     Date: "^ / Xb""             ^                    (aJ
                                                                Signature of Plaintiff




     USDCNH-11 (Rev. 5/13)(previous editions obsolete)                                           Page 6
JS44 (Rev^l2/12)                       Case 1:15-cv-00105-JL
                                                        CIVILDocument
                                                               COVER     Filed 03/25/15/ Page
                                                                      1 SHEET             ' / 5'16 of 17                                                                                             I
The JS44civil cover sheet and the infoimation contained herein neither replace nor supplement the filing and service ofpleadings orother papers asrequired by law, except as
provided by local rulesof court. This form, approved by the Judicial Conference of the United States in September 1974, is required forthe useof the Clerkof Courtforthe
purpose of initiating thecivil docket sheet. (SEE INSTRUCTIONS ON NEXTPAGE OF THIS FORM.)                                                                                               _
I. (a) PLAINTIFFS                                                                                                          DEFENDANTS                                                                    v.- Ca/ rc:yuie^
                   {juPiCFCO                          Pv CArA
     (b) Countyof Residence of First ListedPlaintiff                                                      AJ ^             County ofResidence ofFirst Liste^D^eiri^t
                                   (EXCEPTIN U.S.PLAINTIFFCASES)                                                                                             (INfljiSlMTmFhlASES ONLY)
                                                                                                                           NOTE:        IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                        THE TRACT OF LAND INVOLVED.


     (c) Attorneys (Firm Name, Address, andTelephone Number)                                                                Attorneys (IfKnown)


D ( 7 ^"3
II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One BoxforPlainlil
                                                                                                                       (ForDiversity CasesOnly)                                                      and OneBoxfor Defendant)
•    1     U.S. Government                           Federal Question                                                                                  PTF    DEF                                                     PTE        DEF
             Plaintiff                                 (U.S. Government Nota Party)                              Citizen ofThis State              SKI         0^1 Incorporated or Principal Place                    0 4 04
                                                                                                                                                                               of Business In This State

•    2     U.S. Government                 •    4    Diversity                                                   Citizen of Another State          •    2      0     2     Incorporated onrf Principal Place          O     5    OS
             Defendant                                 (Indicate Citizenship ofParties in Item III)                                                                            of Business In Another State

                                                                                                                 Citizen or Subject of a           •    3      0     3     Foreign Nation                             •     6    0   6
                                                                                                                     Foreien Country
IV. NATURE OF SUIT (Place an "X" inOne Box Only)
              CONTRACT-                                                    TORTS                                     FORFETTUREffENALTV •                          . BANKRUFTCV-.                        OTHER STATUTES

•    110 Insurance                             PERSONAL INJURY                    PERSONAL INJURY                • 625 Drug Related Seizure             • 422 Appeal 28 USC 158                       375 False Claims Act
•    120 Marine                        • 310 Airplane                        • 365 Personal Injury -                   of Property 21 USC 881           •    423 Withdrawal                           400 State Reapportionment
•    130 Miller Act                    • 315 Airplane Product                      Product Liability             •   690 Other                                     28 USC 157                         410 Antitrust
•    140 Negotiable Instrument         Liability                             •    367 Health Care/                                                                                                    430 Banks and Banking
•    150 Recovery of Overpayment • 320 Assault, Libel &                              Pharmaceutical                                                          PROPERTY RIGHTS                          450 Commerce
         & Enforcement of Judgment     Slander                                       Personal Injury                                                    • 820 Copyrights                              460 Deportation
•    151 Medicare Act                  • 330 Federal Employers'                      Product Liability                                                  •    830 Patent                               470 Racketeer Influenced and
•    152 Recovery of Defaulted               Liability                       •    368 Asbestos Personal                                                 •    840 Trademark                                 Corrupt Organizations
           Student Loans               •       340 Marine                             Injury Product                                                                                             •    480 Consumer Credit
        (Excludes Veterans)            •       345 Marine Product                     Liability                                LABOR:                        SOCIAL SECURITVU:.                  •    490 Cable/Sat TV
•    153 Recovery of Overpayment                    Liability                    PERSONAL PROPERTY •                 710 Fair Labor Standards           • 861 HlA(1395fI)                        •    850 Securities/Commodities/
           of Veteran's Benefits       •       350 Motor Vehicle             •    370 Other Fraud                        Act                            • 862 Black Lung (923)                            Exchange
O    160 Stockholders' Suits           •       355 Motor Vehicle             •    371 Truth in Lending           • 720 Labor/Management                 • 863 DIWCVDIWW(405(g))                       890 Other Statutory Actions
G    190 Other Contract                             Product Liability        •    380 Other Personal                      Relations                     •    864 SSID Title XVI                       891 Agricultural Acts
•    195 Contract Product Liability    •       360 Other Personal                     Property Damage            • 740 Railway Labor Act                •    865 RSI (405(g))                         893 Environmental Matters
•    196 Franchise                           Injmy                           • 385 Property Damage               • 751 Family and Medical                                                             895 Freedom of Information
                                       • 362 Personal Injury •                        Product Liability                   Leave Act                                                                        Act
                                                    Medical Malpractice                                          • 790 Other Labor Litigation                                                         896 Arbitration
           REAL PROPERTY                        CIVIL RIGHTS                     PRISONER PETITIONS              • 791 Employee Retirement                   FEDERAL TAX SUITS                        899 Administrative Procedure
•    210 Land Condemnation             • 440 Other Civil Rights                   Habeas Corpus:                       Income Security Act              •    870 Taxes (U.S. Plaintiff                    Act/Review or Appeal of
•    220 Foreclosure                   • 441 Voting                          •    463 Alien Detainee                                                              or Defendant)                           Agency Decision
• 230 Rent Lease & Ejectment           • 442 Employment                      •    510 Motions to Vacate                                                 •    871 IRS—Third Party                      950 Constitutionality of
•    240 Torts to Land                 • 443 Housing/                                 Sentence                                                                     26 USC 7609                             State Statutes
• 245 Tort Product Liability                        Accommodations           •    530 General
• 290 All Other Real Property          •       445 Amer. w/Disabilities •    •    535 Death Penalty                       IMMIGRATION
                                                    Employment                    Other:                         • 462 Naturalization Application
                                       •       446 Amer. w/Disabilities •    •    540 Mandamus & Other           • 465 Other Immigration
                                                   Other                     IB'550Civil Rights                          Actions
                                       •       448 Education                 •    555 Prison Condition
                                                                             •    560 Civil Detainee -
                                                                                      Conditions of
                                                                                      Confinement

V. ORIGIN (Place an "X" inOne Box Only)
trf Original                 • 2 Removed from                     •     3    Remanded from                •    4 Reinstated or         OS Transferred from                 •    6   Multidistrict
           Proceeding              State Court                               Appellate Court    Another District Reopened      Litigation
                                                                                                (specify)
                    Cite the U.S. Civil Statute under which you are,^filing (DonotciteJurisdlctlonal statutesunlessdiversity):
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                                                              c^t r      ^"
VI. CAUSE OF ACTION
                    Briefdescription of cause:

VII. REQUESTED IN                               O     CHECK IF THIS IS A CLASS ACTION                                 DEMAND S                                           CHECK YES only if demanded in complaint:
            COMPLAINT:                                 UNDER RULE 23, F.R.Cv.P.                                                                                          JURY DEMAND:                    I^Ves            • No
    VIII. RELATED CASE(S)
                                                     (See instructions):
             IF ANY                                                          JUDGE                                                                            DOCKET NUMBER

    DATE                                                                          SIGNATURE OF ATTORNEY OF RECORD

                                                                                                                                   [jUcmhJLAA
    FOR OFFICE USE ONLY

      RECEIPT #                       AMOUNT                                          APPLYING IFP                                         JUDGE                                     MAG. JUDGE
         Case 1:15-cv-00105-JL Document 1 Filed 03/25/15 Page 17 of 17




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